The Honorable Claire C. McCaskill Missouri State Auditor State Capitol Building Jefferson City, MO  65101
Dear Auditor McCaskill:
By letter dated November 28, 2000, you have submitted a fiscal note and fiscal note summary prepared pursuant to Section 116.175, RSMo, concerning a proposed constitutional amendment related to Firefighters Collective Bargaining Rights.  The fiscal note summary which you submitted is as follows:
  The annual costs to paid fire departments and districts, ambulance departments and districts, and dispatch agencies to enter into collective bargaining contracts are approximately $251,600 to $3,145,000, depending upon the number of entities entering into such contracts.
Pursuant to Section 116.175, we approve the legal content and form of the fiscal note summary.  Since our review of the fiscal note summary is mandated by statute, no action we take with respect to such review should be construed as an endorsement of the petition or as the expression of any view regarding the objectives of its proponents.
Sincerely,
                                   JEREMIAH W. (JAY) NIXON Attorney General